Case 3:23-cv-00374-DPJ-ASH Document 1-3 Filed 06/12/23 Page 1 of 6




                          EXHIBIT 3
                   RANKIN COUNTY SHERIFF’S
                        TASER REPORT
                        BLACK LAWYERS FOR JUSTICE
Case 3:23-cv-00374-DPJ-ASH Document 1-3 Filed 06/12/23 Page 2 of 6




                            EXHIBIT 3
                     RANKIN COUNTY SHERIFF’S
                          TASER REPORT
                         BLACK LAWYERS FOR JUSTICE
Case 3:23-cv-00374-DPJ-ASH Document 1-3 Filed 06/12/23 Page 3 of 6




                         EXHIBIT 3
                  RANKIN COUNTY SHERIFF’S
                       TASER REPORT
                      BLACK LAWYERS FOR JUSTICE
Case 3:23-cv-00374-DPJ-ASH Document 1-3 Filed 06/12/23 Page 4 of 6




                            EXHIBIT 3
                     RANKIN COUNTY SHERIFF’S
                          TASER REPORT
                         BLACK LAWYERS FOR JUSTICE
Case 3:23-cv-00374-DPJ-ASH Document 1-3 Filed 06/12/23 Page 5 of 6




                         EXHIBIT 3
                  RANKIN COUNTY SHERIFF’S
                       TASER REPORT
                      BLACK LAWYERS FOR JUSTICE
Case 3:23-cv-00374-DPJ-ASH Document 1-3 Filed 06/12/23 Page 6 of 6




                         EXHIBIT 3
                  RANKIN COUNTY SHERIFF’S
                       TASER REPORT
                      BLACK LAWYERS FOR JUSTICE
